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                        UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

In Re:

SEAN COLVIN,                                               Case No. 6:19-bk-06750-CCJ

         Debtor                                            Chapter 7

________________________________/

 MOTION FOR RELIEF FROM AUTOMATIC STAY (SURRENDERED PROPERTY)

         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

                Pursuant to Local Rule 2002-4, the Court will consider the relief requested in
         this paper without further notice or hearing unless a party in interest files a
         response within twenty-one (21) days from the date set forth on the attached proof
         of service, plus an additional three days for service if any party was served by U.S.
         Mail.

                If you object to the relief requested in this paper, you must file a response
         with the Clerk of the Court at George C. Young Federal Courthouse, 400 W.
         Washington Street, Suite 5100, Orlando, Florida 32801 and serve a copy on the
         movant's attorney, Stefan Beuge, Esq., Florida Bar No. 68234 of Phelan Hallinan
         Diamond & Jones, PLLC, 2001 NW 64th Street, Suite 100, Ft. Lauderdale, FL
         33309, and any other appropriate persons within the time allowed. If you file and
         serve a response within the time permitted, the Court will either schedule and notify
         you of a hearing, or consider the response and grant or deny the relief requested
         without a hearing.

                If you do not file a response within the time permitted, the Court will
         consider that you do not oppose the relief requested in the paper, will proceed to
         consider the paper without further notice or hearing, and may grant the relief
         requested.

         By and through its undersigned counsel, Phelan Hallinan Diamond & Jones, PLLC,

Freedom Mortgage Corporation (“Movant”), its successors and/or assigns, a secured creditor of

the above-referenced Debtor, hereby moves the Court for an Order granting relief from stay

pursuant to 11 U.S.C. §362(d) and states:




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   1. This Court has jurisdiction over these matters pursuant to 28 U.S.C. §1334 and 28 U.S.C.

§157(b)(2)(G).

   2. On October 15, 2019, the Debtor filed a Voluntary Petition under Chapter 7 of the

Bankruptcy Code.

   3. According to Schedule C, the Debtor has not claimed the Property as exempt.

   4. The real property located at 880 WOODLARK DRIVE, HAINES CITY, FL 33844

(hereinafter, the "Property") is legally described as follows:

        LOT 328, HIGHLAND MEADOWS PHASE 2B, ACCORDING TO THE PLAT
        THEREOF, RECORDED IN PLAT BOOK 155, PAGE(S) 48 THROUGH 51,
        INCLUSIVE, OF THE PUBLIC RECORDS OF POLK COUNTY, FLORIDA.

   5. Movant is the holder of the Note Secured by the Mortgage encumbering the property

claimed by the Debtor to be part of the bankruptcy estate and is a party in interest in this

bankruptcy proceeding.

   6. On May 2, 2016, the Debtor executed a Promissory Note in the principal amount of

$209,142.00 (herein, the "Note"). A copy of the Note is attached as Exhibit "A" and incorporated

by reference.

   7. The Note was secured by a mortgage which was recorded as Book 9820, Page 788-802,

Instrument No. 2016084854 on May 12, 2016. A copy of the Mortgage is attached as Exhibit

"B" and incorporated by reference.

   8. Debtor has defaulted under the terms of the Note and Mortgage by failing to timely

tender the payments due. The Debtor's loan is currently contractually due for September 1,

2018.

   9. The post-petition payment address of the Movant is: Freedom Mortgage Corporation,

ATTN: Cash Management, 10500 Kincaid Drive, Fishers, IN 46037.




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    10. There is now due and owing from the Debtor to Movant pursuant to the terms of Exhibits

"A" and "B" the principal amount of $201,141.76, together with interest from August 1, 2018,

additional advances made to protect the security granted, other expenses, costs of this action and

attorney's fees.

    11. Movant has not been offered and does not have adequate protection of its interest in the

Property. Moreover, Movant cannot be certain that the real property is insured or will remain

insured or that the property is being maintained.

    12. Debtor has alleged a current value of the subject property as $194,375.00 under Schedule

A/B to Debtor's petition.

    13. Filing of the Petition under the Bankruptcy Code has stayed Movant from proceeding

with its state court rights.

    14. Movant is entitled to relief from the automatic stay because the Debtor has no equity in

the Property and the interest of the Debtor and/or Trustee herein is inferior and subordinate to the

interest of the Movant.

    15. The Debtor’s Statement of Intention calls for the surrender of the Property.

    16. Movant requests a waiver of the fourteen (14) day stay under Rule 4001(a)(3) of the

Order granting relief so that Movant may pursue in rem remedies without further delay.

    17. Movant seeks the award of fees and costs of $931.00 for the prosecution of this motion as

provided for and allowed under the terms of the Mortgage.

    18. Movant is entitled to adequate protection of its interests in the subject real property and

requests the Court to require the Debtor to make adequate protection payments; and if no such

adequate protection can be provided, Movant prays for entry of an Order granting relief from the

stay of 11 U.S.C. §362 to permit Movant to proceed with its state court rights.




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    19. Movant requests permission to communicate with the Debtor and Debtor's counsel to the

extent necessary to comply with applicable non-bankruptcy law.

        WHEREFORE, Movant requests that this Court modify the stay under 11 U.S.C. §362(d)

and permit it to proceed with its State Court rights under the terms of the Mortgage and Note,

requests that the fourteen-day extension of the stay under Rule 4001(a)(3) be waived, award

bankruptcy fees and costs in the amount of $931.00, permit it to communicate with the Debtor

and counsel in order to comply with applicable non-bankruptcy law, and requests such additional

relief as is just.



                                           /s/ Stefan Beuge, Esquire
                                           Stefan Beuge, Esq., Florida Bar No. 68234
                                           Phelan Hallinan Diamond & Jones, PLLC
                                           2001 NW 64th Street
                                           Suite 100
                                           Ft. Lauderdale, FL 33309
                                           Tel: 954-462-7000 Ext. 56588
                                           Fax: 954-462-7001
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                                     PROOF OF SERVICE

               I HEREBY CERTIFY that a true and correct copy of the foregoing, and any

applicable exhibits attached thereto, has been served electronically, or routed for service by U.S.

Mail, to the following:

SEAN COLVIN
1930 CELEBRATION BLVD APT 303
KISSIMMEE, FL 34747

SHELLEY K HOGUE
SUNCOAST LAW, LLC
150 NORTH ORANGE AVENUE, SUITE 414C
ORLANDO, FL 32801

RICHARD B WEBBER, (TRUSTEE)
POST OFFICE BOX 3000
ORLANDO, FL 32802

UNITED STATES TRUSTEE (SERVED ELECTRONICALLY)
OFFICE OF THE UNITED STATES TRUSTEE
GEORGE C YOUNG FEDERAL BUILDING
400 WEST WASHINGTON STREET, SUITE 1100
ORLANDO, FLORIDA 32801

Date: October 29, 2019                        /s/ Stefan Beuge, Esquire
                                              Stefan Beuge, Esq., Florida Bar No. 68234
                                              Phelan Hallinan Diamond & Jones, PLLC
                                              2001 NW 64th Street
                                              Suite 100
                                              Ft. Lauderdale, FL 33309
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